
      1
     Olivia Carranza and Olivia Carranza as Personal Representative of the Estate of Ricardo Medina-Rojas, Petitioners/Cross-Respondents:  v.  SAL Management Group, LLC and SAL of Colorado, LLC Respondents/Cross-Petitioners: No. 24SC503Supreme Court of Colorado, En BancApril 28, 2025
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case Nos. 23CA1398 &amp; 23CA1755
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      and Cross-Petition for Writ of Certiorari DENIED.
    